                                    MINUTE ORDER



 CASE NUMBER:               CRIMINAL NO. 20-00068 LEK

 CASE NAME:                 USA vs. Nickie Mali Lum Davis



       JUDGE:        Leslie E. Kobayashi              DATE:             06/21/2022



COURT ACTION: EO: COURT ORDER GRANTING REQUEST FOR EXTENSION OF
TIME AND DENYING REQUEST FOR DISCOVERY

         Defendant Nickie Mali Lum Davis (“Davis”) filed her ex parte motion on June 16, 2022
seeking an extension of time and referring to a request for discovery. [Dkt. no. 71.] Davis has
failed to file a motion for discovery, and there is no pending motion for discovery before the
Court. Her counsel is reminded to follow the Local Rules for the District of Hawai`i and that
continued failure to do so may result in sanctions. The ex parte motion is GRANTED to the
extent that the reply memorandum is now due on July 1, 2022, and is DENIED in all other
respects.

       IT IS SO ORDERED.

Submitted by: Agalelei Elkington, Courtroom Manager
